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                           IN THE UNITED STATES DISTRICT COURT
                            FOR SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-25046-Civ-Scola

   FEDERAL TRADE COMMISSION,

                                  Plaintiff,

                          v.

   ON POINT GLOBAL LLC and others,

                           Defendants.
   _________________________________________/

                               RECEIVER’S SECOND STATUS REPORT
          Melanie E. Damian, the court-appointed Receiver (the “Receiver”) in the above-captioned

   enforcement action, submits her second status report concerning the status of the Receivership,

   established pursuant to the Court’s Temporary Restraining Order (“TRO”) [ECF No. 17], which

   the Court extended in its Order Granting Motion for Preliminary Injunction (“Preliminary

   Injunction”) [ECF No. 126]. This interim report sets forth her activities and efforts to fulfill her

   duties under the TRO and Preliminary Injunction pursuant to which she was appointed for the

   period from January 10, 2020 through March 31, 2020 (the “Reporting Period”).
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          I.      INTRODUCTION

          Since her appointment, the Receiver, with the assistance of her legal counsel and other

   professionals, took control of all Receivership Entities and operations related to the On Point

   Global business and has worked diligently with counsel for the Federal Trade Commission (the

   “FTC”) and counsel for Defendants, to provide all parties access to any information requested and

   through the judicial process sought to preserve the assets by continuing those operations that could

   be operated (as modified) in nondeceptive manner. Further, the Receiver identified and marshalled

   all known assets and records of the Defendants not previously identified and secured, including

   without limitation, funds held in bank accounts, merchant processor reserve funds, bank records,

   and open and overdue invoices with advertising affiliates and third-parties. As reflected in the

   Receiver’s Initial Status Report [ECF No. 108], the Receiver, with the assistance of her forensic

   accountants, identified, located, marshaled, and maximized Receivership Estate assets as

   authorized by the TRO and Preliminary Injunction including, but not limited to, revenue generated

   from partnerships with advertising affiliates, revenue generated by Avenue I Media (“Avenue I”),

   and liquidating certain Estate assets including valuable but unused domains owned by certain

   Defendants. Further, the Receiver has succeeded in significantly reducing the Defendants’

   monthly operational costs by eliminating business segments that violated the TRO and Preliminary

   Injunction and trimming non-essential employees, restructuring or eliminating unnecessary lease

   agreements at various locations, and restructuring or working out debts with financial institutions.

   The Receiver continues to work with her counsel and the Defendants to collect on all outstanding

   accounts receivable so as to maximize the value of the Estate.

          The Receiver, with assistance from outside compliance counsel, the Defendants and

   counsel for all parties, has spent significant time drafting and modifying new proposed templates

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   for implementation on the Defendants’ freemium and pay-for-services websites so these websites

   may operate in compliance with FTC regulations, to protect consumers, and to maximize the value

   of the going concern and the Estate. Since filing her Initial Status Report, and even after filing her

   Motion to Approve Modified Templates for Entity Defendants’ Websites Pursuant to Court Order

   Dated January 14, 2020 and Authorization to Make Payments to Assist in Operating Going

   Concern [ECF No. 169] (the “Motion to Approve the Modified Templates”), the Receiver with

   assistance from outside compliance counsel has continued her efforts to implement additional

   policies and procedures to better inform and protect consumers to ensure that all of the Defendants’

   business lines are compliant with FTC regulations and provide value to consumers.

          The Receiver has performed and will continue to perform her duties and obligations as set

   forth by the TRO and Preliminary Injunction, with the assistance of her counsel and other

   professionals, throughout the duration of the Receivership in furtherance of this Court’s Orders.

          II.      PROCEDURAL BACKGROUND AND THE APPOINTMENT AND
                   DUTIES OF RECEIVER

                A. Appointment of Receiver, Initial Status Report, and Preliminary Injunction
          The TRO entered on December 13, 2019, among other things, directed the Receiver to

   submit her conclusions and recommendations as to the nature of the Defendants’ business and,

   among many other things, whether any portion of the business could continue to operate lawfully

   and profitably on or before the hearing on the FTC’s motion for Preliminary Injunction, which was

   set to take place on January 10, 2020. See ECF No. 17.

          On January 9, 2020, the Receiver filed her Initial Status Report, which described the

   Receiver’s initial efforts to carry out her duties and obligations as set forth in the TRO as well as

   her recommendations regarding the Defendants’ business, continued operation and modification

   thereof, and the status of the Receivership Estate. See ECF No. 108. The Receiver’s Initial Report

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   detailed the considerable time and effort made by the Receiver and her professionals in unpacking

   the complex and intertwined web of businesses and finances of the Defendants in order to fully

   satisfy her duties under the TRO. The Initial Status Report reflected the Receiver’s conclusions

   that, while a large segment of the business was required to be taken immediately off-line, certain

   of the Defendants’ business could (if modified) continue to operate legally and profitably. The

   Receiver opined that the Defendants’ Avenue I business, which was not the subject of any FTC

   allegations, could continue legally and profitably.        The Receiver also proposed that the

   Defendants’ freemium data business and certain “pay-for-service” sector business potentially

   could continue operating legally and profitably if modified and approved by the Court. See ECF

   No. 108.1 The Receiver, therefore, recommended that she be permitted to draft modified templates

   for the freemium and “pay-for-services” websites that would make them nondeceptive and

   profitable, vet them with the FTC and the Defendants, and present them to the Court for approval.

   See ECF No. 108.

          On January 14, 2020, following the evidentiary hearing on the FTC’s motion for

   preliminary injunction, the Court entered the Preliminary Injunction, which, among other things,

   extended the Receivership and required the Receiver to submit her second interim status report by

   April 20, 2020.2 See ECF No. 126.




   1
     The Receiver reasoned that collecting data in exchange for free information and providing
   services at an up charge with value add is not itself prohibited by law if done nondeceptively. And
   so, an attempt to do so nondeceptively was pursued because based on the Receiver’s investigation
   the going concern value could be substantial. As such, keeping those aspects of the going concern
   operating would serve to preserve and substantially enhance the value of the Receivership Estate,
   and thereby fulfill certain obligations of the Receiver under the Court’s Orders. As set forth infra,
   the going concern performance to date supports that position.

   2
     On April 17, 2020, the Court granted the Receiver’s motion to extend the deadline to file her
   second interim status report through and including April 24, 2020. See ECF No. 201.
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                 B. Receiver’s Duty to File Periodic Status Reports

          The Receiver continues to fulfill her duties and obligations under the TRO and Preliminary

   Injunction. Pursuant to Paragraph 13 of the Preliminary Injunction, the Receiver is required to

   “File a summary report with the Court of the receivership…every three months…and include the

   following information: 1. A summary of the Receiver’s operations since the previous report; 2.

   The known value of Assets and sum of liabilities of the Receivership Entities; 3. A schedule of the

   Receiver’s receipts and disbursements; 4. The steps the Receiver intends to take in the future to

   protect receivership Assets, recover receivership Assets from third parties, and adjust receivership

   liabilities; 5. The Receiver’s recommendation for a continuation or discontinuation of the

   Receivership, or for changes to the Receivership, and the reasons for the recommendations; and 6.

   Any other matters which the Receiver believes should be brought to the Court’s attention.” ECF

   No. 126.

          III.       STATUS AND ACTIVITIES OF THE RECEIVERSHIP
                     (JANUARY 10, 2020 THROUGH MARCH 31, 2020)
          The Receiver provides herein a detailed description of her efforts and accomplishments

   with respect to her duties under the Court’s Orders during the current Reporting Period.

                 A. Updated Accounting of Receivership Assets
          As of March 31, 2020, the Receiver held a total of $2,239,880.76 in her fiduciary accounts

   for the Receivership Estate at City National Bank in Miami, Florida, earning interest at 1.25%

   (APR), and in reserve accounts at merchant processors under the exclusive control of the Receiver.

   See Receivership Receipts and Disbursements attached hereto as Exhibit A. In addition to this

   cash on hand, the entity Defendants own the following assets:


                    $9,042,154.96 in uncollected amounts owed to On Point Global, LLC (“On
                     Point”) from advertising affiliates and other outstanding Receivables.

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                 $563.854.61 in liquid Assets held in reserve accounts at Merchant
                  Processors not yet turned over to the Estate.3

                 Domain Names valued at approximately $30 million.

                 Remaining business operations and intellectual property, including the
                  Avenue I – Exchange Business and domains (value unknown)

                 Office furnishings and equipment including computers and other electronics
                  currently in 5 offices.

                 Dragon Global Management LLC’s assets: a 2010 Ferrari, a 2016 Range
                  Rover, and various artwork disclosed in financial disclosures (the total
                  value of these assets was disclosed to be approximately $1.2 million) 4

              B. Additional Asset Recovery and Liability Management

          Pursuant to the authority granted to the Receiver by the TRO and Preliminary Injunction,

   as set forth below, the Receiver continues to identify and marshal assets for the benefit of the

   Estate, including potential third-party claims. See ECF No. 126, Sec. XII.

                    i.   Accounts Receivable

          With the assistance of the remaining employees at the Defendants’ offices, the Receiver

   continues to identify and collect on all outstanding accounts receivable. As of March 31, 2020,




   3
    Figures reflecting outstanding invoice amounts derived from On Point Global A/R Aging
   Summary, attached hereto as Exhibit B.

   4
    Subsequent to providing its financial disclosures to the Receiver, Dragon Global Management
   LLC informed the Receiver that the Range Rover is subject to a five-year retail installment sale
   contract entered into as of November 2019 and proposed to take responsibility for making all
   payments due under that contract and that the vehicle not be deemed an asset of the Estate. The
   Receiver will agree to such arrangement, subject to Court approval. Further, Dragon Global
   Management LLC informed the Receiver that it had erroneously listed the artwork as its assets
   when in fact it was owned by Defendant Robert Zangrillo or a third-party entity. Dragon Global
   Management LLC is working on providing to the Receiver documentation and other evidence to
   support its position.
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   the Defendants have identified $9,042,154.96 in outstanding amounts owed from various sources.

   The Receiver, the Receiver’s counsel and other professionals, and Defendants’ employees

   continue to pursue these outstanding amounts for the benefit of the Estate. The Defendants have

   identified $5,492,991.52 in amounts owed by various advertising affiliates with which the

   Defendants have had business dealings, $2,985,308.83 in amounts owed to Avenue I’s data

   business, and $563.854.61 in amounts remaining in reserve in certain entity Defendants’ reserve

   accounts at merchant processors. See Exhibit B.5 The Receiver and her counsel will continue to

   work with the Defendants’ employees to collect these outstanding amounts, seeking court

   intervention when necessary, for the benefit of the Receivership Estate.

                    ii.   Insurance Claims

          During the Reporting Period, the Receiver identified several insurance policies held by the

   Defendants that may potentially offer coverage and insurance benefits for the Estate. Specifically,

   the Receiver has identified Errors & Omissions policies as well as Directors and Officers Liability

   policies held by certain Defendants. The Receiver has retained outside coverage counsel and is in

   the process of submitting claims under these policies for the benefit of the Estate.

                   iii.   Domain Assets

          As detailed in the Receiver’s Initial Status Report, on March 6, 2018, On Point Domains

   LLC purchased 502 domain names from CCH Domain Holdings, LLLP (“CCH”) for $15,000,000,

   pursuant to an Asset Purchase Agreement. Under the Agreement, On Point Domains LLC received

   a two-year option, followed by a five-year right of first refusal, to purchase an additional 80 domain



   5
    The amounts identified include amounts currently due combined with amounts that are 30, 60,
   90, and 90+ days overdue.
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   names. At the time of the Initial Status Report, records indicated that, of the $15,000,000 purchase

   price, $13,752,456,51 remained outstanding under the Asset Purchase Agreement pursuant to a

   Promissory Note issued to CCH, with compound interest accruing on the obligation at an annual

   rate of 3% until maturity (December 1, 2032). With the assistance of GoDaddy.com, the Receiver

   identified a purchaser for one of the domains that was transferred to the Defendants as part of the

   CCH agreement. The prospective buyer made a significant six-figure offer for the purchase of one

   of the Defendants’ more valuable domains that was not being used and, once the sale is completed,

   the Receiver will use the sale proceeds to reduce the Defendants’ obligation under the Asset

   Purchase Agreement with CCH. The Receiver seeks to preserve these domain assets and has

   negotiated a repayment plan for the amounts owed pursuant to that agreement whereby the

   Receiver is making monthly installment payments from the revenues generated from the

   Defendants’ current operations to satisfy the remaining amount due to CCH. The domain portfolio

   acquired from CCH greatly increases the value of the Defendants’ assets; as such, the Receiver

   will fulfill the Defendants’ obligations under the Asset Purchase Agreement to effectuate the full

   transfer of the domain portfolio to the Estate.

                   iv.    SunTrust Loan

          The Receiver learned that in December 2018 the Defendants entered into a loan agreement

   with SunTrust Bank that enabled the Defendants to borrow up to $7.5 million collateralized by a

   $7.2 million certificate of deposit held by the Defendants. The repayment schedule for this loan

   requires the Defendants to repay principal and significant interest payments each month. To

   reduce the burden of this monthly cost, the Receiver authorized the surrender of the certificate of

   deposit in full satisfaction of the SunTrust Bank loan, enabling the Defendants’ to avoid at least




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   $64,000 in interest and charges as well as relieve the Defendants from having to make any further

   payment of interest, late fees, and principal.

                    v.    Avenue I Media

          The Receiver reported in her Initial Status Report that on July 5, 2019, On Point acquired

   Avenue I which operates in Redondo Beach, California, in a transaction wherein Defendant Direct

   Market, LLC purchased all of the membership interests of Adam Rioux, LLC, d/b/a Avenue I

   Media, a California limited liability company, pursuant to a Membership Interest Purchase

   Agreement dated July 5, 2019, in exchange for the purchase price of $13,250,000. Direct Market,

   LLC agreed to pay the remaining $4,000,000, plus interest, prior to July 5, 2020.

          As explained supra, the Avenue I business was not the subject of the FTC’s complaint and

   the Receiver has opined that it can be operated lawfully and profitably. During the Reporting

   Period, the Avenue I business continued to generate significant revenue for the Estate which has

   greatly contributed to the Receiver’s ability to satisfy monthly operational costs and to continue to

   operate the Defendants’ business.

          Pursuant to the Avenue I acquisition agreement, the Defendants were required to make

   additional significant payments. As a cost-saving measure, to preserve this significant asset and

   to make these payments more manageable, the Receiver negotiated a restructured payment plan

   that permits the Receiver to retain the asset and make the payments from the monthly operating

   revenue without dissipating any Estate assets.

                    vi.   Defendants’ Offices
          The Receiver restructured or terminated a number of lease agreements entered into by the

   Defendants significantly reducing unnecessary monthly costs. The Receiver terminated lease


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   agreements for properties in Miami, Florida (warehouse space and apartment space), Boca Raton,

   Florida, and Redondo Beach, California. As a further cost-saving measure, the Receiver recently

   vacated the Defendants’ main office space located in Miami, Florida and will be surrendering the

   property to the landlord on April 30, 2020. The Receiver located more efficiently sized and less

   costly office space in Miami, Florida from which the Defendants’ business can continue to operate

   under her guidance and supervision, if the Court permits her to do so. If not, the Receiver may

   terminate this lease obligation under its terms.

          In her Initial Status Report, the Receiver reported that her California counsel had identified

   and entered a second California property located at 9200 Sunset Drive on the day of the

   simultaneous execution of the TRO. This property was leased from a Dragon Global entity to an

   On Point entity and then sublet to an unrelated entity and was used occasionally by Defendant

   Robert Zangrillo. During the initial reporting period, the Receiver permitted the subtenant to

   remain in possession unaltered. Since then, however, the Receiver has turned over this lease

   obligation to a Dragon Global entity.

              C. Ongoing Management and Administration of the Entity Defendant

                      i.      Receiver’s Modified Website Templates
          As required by the TRO, the Receiver, with assistance from outside compliance counsel,

   analyzed the Defendants' business practices to determine whether certain segments of the business

   could be operated legally and profitably. See ECF No. 17. In her Initial Status Report, the Receiver

   determined that Avenue I was being operated legally and profitably. The Receiver further opined

   that Defendants' "freemium" and "pay-for-services" websites could be deceptive to consumers.

   However, the Receiver also reasoned that the information provided via the freemium websites free

   of charge to consumers, as well as the certain services provided to consumers via the pay-for-


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   services websites could be beneficial to consumers if provided in a legal and nondeceptive way.6

   See ECF No. 108. The Receiver further analyzed the financial model of the freemium websites

   with her forensic accountants and opined that it was possible that modified websites could

   potentially be operated legally and profitably and, given the size of the operation and the potential

   value of the going concern, the Receiver proposed modifications and evaluation. See id. A similar

   analysis was made for the pay-for-services websites, and the Receiver determined that, with

   modification, those websites could be operated nondeceptively, otherwise legally and profitably.

   See id. Based on this determination and the Receiver's corresponding charge to "perform all acts

   necessary or advisable to preserve the value of those assets", the Receiver believed it was her

   obligation to attempt to operate the remaining going concern if it could be done legally and

   profitably.7

          Based on the foregoing findings, the Receiver recommended that she be granted the

   opportunity to work with outside compliance counsel to propose modified templates. The

   Receiver further recommended that these proposed modified templates be vetted by the FTC and

   the Defendants and then presented to the Court for approval while providing the parties an

   opportunity to brief any objections they may have. See id.


   6
     Based on current repeat customer data for the Defendants’ freemium websites as of the filing of
   this Report, the Receiver’s initial conclusions appear to be accurate. In March 2020, 63% of all
   users who registered on the Defendants’ freemium websites were repeat registered visitors. In
   April 2020 (to date), that figure increased to 65%. The data reflects that more users are returning
   to the Defendants’ freemium websites, suggesting that the websites provide useful information for
   consumers.

   7
     The Receiver’s financial analysis has borne out. Since making the changes to the websites and
   with ongoing revisions to tighten compliance and monitor and respond to customer issues, the
   websites’ March and April net revenue is more than $6 million per month with EBIDTA for April
   projected to exceed $900,000. As such, the Defendants’ financial model is viable and the going
   concern has substantial value if this Court finds the websites comply with applicable law.


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          On March 13, 2020, after extensive work with compliance counsel, the FTC, and the

   Defendants in drafting and editing the proposed modified website templates to address all concerns

   raised by the parties, the Receiver filed her Motion to Approve the Modified Templates which

   attached the proposed modified website templates. See ECF No. 169. The Receiver also attached

   to her Motion a comprehensive report drafted by one of the Receiver’s compliance counsel,

   Akerman LLP, that detailed the proposed modifications and the Defendants’ methods for

   protecting the privacy of users and the data collected and further outlined the method by which the

   new templates better protect consumers and complied with all applicable regulations. See ECF

   No. 169-10. As set forth in the Motion and Reply in support, the revisions to the freemium

   websites (1) make clear that the websites were not run by the government, (2) do not “determine”

   eligibility for any government service; (3) do not require the user to answer survey questions or

   receive advertisements in order to receive the free guide; and (4) move the placement of this

   information so that it is prominently displayed, easy to understand, and unavoidable. Since filing

   the Motion to Approve Modified Templates, the Receiver’s compliance counsel has continued to

   review every website and free guide and edit the websites to ensure they are not overstating the

   contents of the free guides provided. As of the filing of this Report, that project is nearly complete.

          With respect to the e-commerce websites, which provide concierge assistance to users for

   a fee, they were revised to meet the following goals: (1) clearly identify for the user the steps

   involved in each process; (2) identify any fees charged by On Point at the beginning of the process,

   and explain when those fees are in addition to other fees charged by separate entities; (3) make

   clear that On Point is not part of or affiliated with any government entity; and (4) explain to the

   user that if the user does not wish to pay On Point's third-party fee, the user may complete the

   service on the official government website.



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          The Receiver’s proposed modified templates were also updated to be compliant with the

   Telephone Consumer Protection Act ("TCPA") and applicable data protection and privacy policies

   and practices. A complete evaluation of the modified templates and the other compliance measures

   taken by the Receiver and the Defendants under her supervision is attached as Exhibit J to the

   Receiver’s Motion to Approve the Modified Templates. See ECF No. 169-10.8

          In response to the Receiver’s Motion to Approve the Modified Templates, the FTC and the

   Individual Defendants filed their respective objections to the proposed modifications. See ECF

   Nos. 175, 176, and 177. On April 6, 2020, the Receiver filed her Reply in Support of Her Motion

   to Approve Modified Templates which addressed and responded to the objections raised by the

   FTC and the Individual Defendants. See ECF No. 188. The Court has permitted an additional

   filing by the FTC due on April 27, 2020. As a result, the Receiver’s Motion to Approve Modified

   Templates remains pending.9

                      ii.     Customer Refunds, Chargebacks and Complaints

          In addition, since that Motion was filed, the Receiver has continued to monitor the call

   center, charge backs and refunds. During the Receivership, any customer who contacts the

   Defendants’ call center to request a refund will receive a full refund, without exception. Still, the



   8
    In addition to the modifications of the freemium and pay-for-services websites, the Receiver with
   the assistance of compliance counsel has required On Point to adopt a robust “Do Not Call” policy
   which is in progress. The purpose of this policy is to ensure that: (1) users who no longer wish to
   receive email messages, text or push notifications from the Defendants have readily identifiable
   options to opt out from receiving such communications; and (2) the Defendants comply with any
   opt out requests made by users.
   9
    There are a number of additional measures the Receiver will continue and supplement if the Court
   approves the proposed website templates to add value for consumers during the current crises,
   including providing call center and content support regarding government programs and services
   without charging consumers.

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   Receiver continues to monitor any complaints, charge backs and number of refund requests to

   determine if any of the websites are causing customer confusion or could be considered

   deceptive.10 The Receiver will continue to monitor this data and will take off-line any offending

   website.

                      iii.   Further Consumer Protection and Compliance Measures

          Recently, the FTC approached the Receiver with concerns related to a third-party affiliate

   marketer of the Defendants wherein the ad from at least one marketer contained copy of particular

   concern to the FTC. In response to the FTC’s concern, the Receiver took affirmative action to

   ensure that new standards were implemented with respect to ads run by third-party affiliate

   marketers. In particular, the Receiver is working with compliance counsel to implement these new

   standards that require ad copy satisfy at least one of the following: (1) the ad copy is provided by

   compliance counsel as acceptable content, or (2) compliance counsel approves the ad copy

   proposed by the affiliate marketer. Any copy that does not meet these criteria will not be allowed.

   The Receiver and the Defendants under her supervision instituted a technological solution that

   permits the Receiver and the Defendants to monitor all ad copy of third-party affiliate marketers

   so that any third-party affiliate marketer that does not comply with these new standards will be

   terminated. This policy should be fully operational by May 1, 2020.

                  D. Entities Added to Receivership

          In her Initial Status Report, the Receiver identified several additional corporate entities

   used for billing and several others that have bank accounts related to the entity Defendants’



   10
     The Receiver is concerned about one of the services websites and will continue to monitor it.
   At present, no traffic is being directed to it.
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   business and as potentially being involved with and related to the Defendants’ business activities.

   See ECF No. 108. The Receiver requested that the Court enter an Order appointing Ms. Damian

   as Receiver for these additional corporate entities. See id. At the conclusion of the Preliminary

   Injunction hearing, the Court granted the Receiver’s request and directed the Receiver to file a

   motion identifying the entities proposed to be added to the Estate. See ECF No. 126. On April 1,

   2020, the Receiver filed her Unopposed Motion to Add Entities to the Receivership. See ECF No.

   181. On April 1, 2020, the Court granted the Receiver’s motion, adding to the Receivership the

   following entities:


                   1. 9283-5503 QUEBEC, INC.
                   2. Adam Rioux, LLC
                   3. Adam Rioux, LLC d/b/a Avenue I Media
                   4. Anycase, S.A.
                   5. Because it Works, LLC
                   6. Claro Market, LLC
                   7. Dejaj Media
                   8. DG On Point, LLC
                   9. DG On Point II, LLC
                   10. DMV Web Management, Inc.
                   11. Financial Guide, LLC
                   12. Foodstamp Help, LLC
                   13. Government Assistance, LLC
                   14. Health Benefits, LLC
                   15. Housing Advice, LLC
                   16. Housing Benefits, LLC
                   17. Island Media, LLC
                   18. Jaco Beach, LLC
                   19. JourneyMan Media, LLC
                   20. Lady Boss Media, LLC
                   21. Medicare Assistance, LLC
                   22. My Senior Information, LLC
                   23. Nextsteplocal, LLC D/B/A Next Step Local
                   24. Nextstepsocial, LLC D/B/A Next Step Social
                   25. OCP
                   26. Ocotillo Media, Inc.
                   27. On Point Processing, LLC
                   28. Online Financial Assistance, LLC

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                   29. On Point Safety Services, LLC
                   30. OP 2019, LLC
                   31. Pacific Avenue Media, LLC
                   32. PACMARC, S.A.
                   33. PBJ Media, LLC
                   34. Pelron, S.A.
                   35. Raftaar Media Pvt. Ltd
                   36. SEC8 Information, LLC
                   37. SEC8 Portal, LLC
                   38. Section 8 Portal, LLC
                   39. Tag Media, LLC
                   40. Unemployment Guidance, LLC
                   41. Veteran Assistance, LLC
                   42. Wellness Guide, LLC
                   43. Yeah, S.A.
                   44. Your Passport Now, LLC
                   45. Yula Capital LLC

   See ECF No. 182.

          As the Receiver continues to fulfill her duties and obligations under the TRO and

   Preliminary Injunction, she will further identify any additional entities that may need to be added

   to the Receivership.

          IV.     RECOMMENDATION FOR CONTINUATION OF
                  RECEIVERSHIP

          The Receiver recommends that the Receivership continue as set forth in her Initial Status

   Report and in her Motion to Approve Modified Templates. The Receiver and her professionals

   have spent considerable time with compliance counsel modifying the freemium and services

   websites and the business model to operate legally and profitably. The Receiver acknowledges

   that the compliance work continues and that continued monitoring of the websites and consumer

   response is necessary. Since filing her Motion to Approve Modified Templates, the Receiver with

   compliance counsel’s assistance has (1) trained internal On Point employees regarding ad-content

   to ensure it is not misleading; (2) monitored call center calls and training; (3) has reviewed guides

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   to ensure that the information in the free guides is accurately represented and ensured periodic

   updates; (4) updated free content to provide value add to consumers including COVID-19; (5)

   modified the “contact us” dropdown to provide a vehicle for customers to specifically complain

   about the website to enable the Receiver to monitor the consumer complaints to determine if

   consumers are being misled by the website; and (6) monitored chargeback rates and refunds to

   determine consumer dissatisfaction. In addition, the Receiver has responded specifically to issues

   raised by the FTC regarding a specific complaint about an affiliate marketer and generally as to

   controls in place to monitor emails as set forth above. If this Court permits the websites to

   continue, the Receiver will hire a full-time employee whose sole duties would be to monitor ad-

   copy of On Point and the affiliate marketers under the supervision of compliance counsel. The

   Receiver will also implement ongoing compliance mechanisms and continue monitoring the use

   of consumer personal data.      The Receiver is open to other specific suggestions to ensure

   compliance with the law if this Court determines the websites “fall short” as the FTC asserts. The

   Receiver is also willing to engage an expert to perform a consumer perception study as

   recommended by the FTC, if the Court deems it a necessary and appropriate use of Receivership

   assets to move forward.11

          V.      CASH ON HAND AND EXPENSES OF RECEIVERSHIP ESTATE

          As stated above, as of March 31, 2020, the Receivership Estate had cash on hand in the

   amount of $2,239,880.76, which the Receiver is holding in the Estate’s fiduciary accounts at City




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     On the afternoon of this filing, counsel for the FTC notified the Receiver for the first time of
   complaints regarding a car registration website and potentially a food stamp website, which the
   FTC intends to bring to the Court’s attention in its filing on Monday, April 27, 2020. The Receiver
   had not received these complaints directly and will investigate and take appropriate action. The
   Receiver will provide a response with proposed remedial action if the Court permits.
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   National Bank and in certain Defendants reserve accounts at merchant processors, under the

   Receiver’s exclusive control. See Exhibit A.

          During the Reporting Period, On Point’s remaining business has generated substantial

   revenues, and from those revenues the Receiver has paid the expenses and debts required to

   preserve the Estate assets. Such expenses included payroll, rent, utilities for office locations,

   publishing and data expense, Google Adsense, e-commerce expense, domain hosting, maintenance

   fees, debt for investments in Avenue I and the domain purchase, and fees for bank account services

   and maintenance. See Exhibit A.

          The fees and expenses incurred by the Receiver and her professionals during the Reporting

   Period are also expenses of the Estate. Pursuant to the TRO and Preliminary Injunction, the

   Receiver will file an application seeking approval and payment of those fees and expenses from

   the funds the Receiver has marshalled and deposited into her fiduciary account in connection with

   fulfilling her duties under the Court’s Orders.

          VI.     ASSISTANCE FROM RECEIVER’S FORENSIC ACCOUNTANT

          As discussed in her Initial Status Report, the Receiver engaged Kapila Mukamal LLP (the

   “forensic accountants”) as her forensic accountants, financial and tax consultants and computer

   forensic professionals. Since the filing of that Report, the forensic accountants have continued to

   assist the Receiver in evaluating and monitoring the Receivership Entities’ ongoing business

   operations and have provided litigation support services. Specifically, the forensic accountants

   have assisted in reviewing and evaluating the Receivership Entities’ cash projections and business

   plans, monitoring and reconciling the daily cash and credit card activity, reviewing all payment

   requests to ensure they are within budget and supported by appropriate documentation,

   participating in periodic meetings with the Receivership Entities’ accounting and finance team to

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   evaluate cash flow, periodic business plans and operations, assisting the accounting and finance

   team with reconciling cash, providing ongoing information technology services in connection with

   preserving and maintaining the Receivership Entities’ websites, providing information to

   Receiver’s counsel as needed to ensure all entities and assets, including bank accounts, are

   appropriately included in the Receivership, and assisting the Receiver’s counsel with ongoing

   litigation matters.   The Receiver continues to utilize the valuable services of her forensic

   accountants for as long as she deems their assistance necessary to fulfill her duties and obligations

   under the TRO and Preliminary Injunction.

          VII.    CONCLUSION

          The Receiver will continue to work with her team of professionals to locate, marshal and

   preserve all known and potential assets of the Estate. Further, as authorized by the TRO and the

   Preliminary Injunction, the Receiver will continue to investigate and as appropriate pursue existing

   and potential claims against third parties on behalf of the Estate. The Receiver will also continue

   to investigate and gather information regarding all Defendants’ assets through subpoenas,

   depositions, and other inquiries to financial institutions, and other entities and persons with any

   connection to the Defendants to discover potential claims against third parties and other sources

   of recovery. The Receiver will continue to perform all other duties as mandated by the TRO and

   Preliminary Injunction and will continue updating the Court on a regular basis as to the status of

   the Receivership.

          Respectfully submitted this 24th day of April 2020.



                                                         Respectfully submitted,

                                                         /s/Kenneth Dante Murena
                                                         Kenneth Dante Murena, Esq.

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                                                       Counsel for Melanie E. Damian,
                                                       Court-Appointed Receiver



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

   electronic transmission via this Court’s CM/ECF filing system on April 24, 2020 on all counsel or

   parties who have appeared in the above-styled action.

                                                       /s/Kenneth Dante Murena
                                                       Kenneth Dante Murena,
                                                       Counsel for Melanie E. Damian,
                                                       Court-Appointed Receiver




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